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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO


FEDERAL TRADE COMMISSION,                      Misc. No. 5:18mc54
    Petitioner,
                                               JUDGE SARA LIOI
              v.                               Magistrate Judge George J. Limbert

FULLY ACCOUNTABLE, LLC,
    Respondent.


                                 STATUS REPORT

        The Federal Trade Commission submits this status report regarding

Respondent Fully Accountable, LLC’s compliance with the Court’s Order dated

August 13, 2018. That Order required Fully Accountable to comply in full with the

Commission’s civil investigative demand (CID) within 10 days, or by August 23,

2018.

        Fully Accountable made a production to the FTC on August 18, 2018 and

separately provided a certificate of compliance dated August 23, 2018. FTC staff is

still reviewing this production but does not agree at this time that Fully

Accountable has complied in full. In the meantime, FTC staff has undertaken

additional investigational steps to assess the completeness of the production and to
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move the matter forward generally. The FTC respectfully offers to provide an

updated status report at a future date of the Court’s choosing.

                                       Respectfully submitted,

                                       ALDEN F. ABBOTT
                                       General Counsel

                                       LESLIE RICE MELMAN
                                       Assistant General Counsel for Litigation

                                       /s/ Burke W. Kappler
                                       BURKE W. KAPPLER
                                       Attorney

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Dated: September 21, 2018.             Email: bkappler@ftc.gov




                                   Status Report
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                               Certificate of Service

      I hereby certify that on September 21, 2018, I served the foregoing Status

Report by filing it with the CM/ECF system for the Northern District of Ohio, which

provides a notification to all counsel appearing in this matter.


                                               /s/ Burke W. Kappler
                                               BURKE W. KAPPLER
